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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             5:19-cr-00394-SVW

 Defendant           Robert Stahlneker                                       Social Security No. 5         0    6     8
 akas:   None                                                                (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                     MONTH      DAY      YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.          06      18      2020

  COUNSEL                                                              David R. Reed, appointed
                                                                             (Name of Counsel)

    PLEA               GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                               CONTENDERE                GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Threat by Interstate Communication in violation of 18 U.S.C. § 875(c) as charged in Count Three of the First
          Superseding Indictment and Anonymous Telecommunications Harassment in violation of 47 U.S.C. § 223(a)(1)(C) as
          charged in Counts 4 through 8 of the First Superseding Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:


         ONE (1) YEAR and ONE (1) DAY

        This term consists of ONE YEAR and ONE DAY on each of Counts 3 through 8 of the First Superseding Indictment, to be served
concurrently.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This term consists of
three years on Count 3, and one year on each of Counts 4 through 8 of the First Superseding Indictment, all such terms to run concurrently
under the following terms and conditions:

         1.          The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and
                     General Order 20-04.

         2.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
                     within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
                     directed by the Probation Officer. The use of marijuana is excluded from the prohibited drugs, provided that the defendant
                     receives a prescription from licensed psychiatrist.

         5.          The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged
                     from the program by the treatment provider, with the approval of the Probation Officer. The defendant is granted leave to
                     engage in his mental health counseling by telephone.

         It is ordered that the defendant shall pay to the United States a special assessment of $600, which is due immediately.

          Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and
is not likely to become able to pay any fine.

         The underlying Indictment and all remaining counts are dismissed.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 22, 2020
            Date                                                               STEPHEN V. WILSON, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                               Clerk, U.S. District Court



            June 22, 2020                                            By
            Filed Date                                                         Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local                9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                              in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal                    convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a                   officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                          the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                        that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by                  rehabilitation;
       the court or probation officer;                                               10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                        purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation                    controlled substance, or any paraphernalia related to such substances,
       officer;                                                                            except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation           11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment                   arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;                  12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation                   destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before         13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                       enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                     permission of the court;
 7.    The defendant must permit the probation officer to contact him or             14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation                   persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and                 those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                                    confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by                    such notifications;
       the probation officer for schooling, training, or other acceptable            15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days                     implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                            criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                               defendant; and provide the defendant with needed educational or
                                                                                           vocational training, medical care, or other correctional treatment in the
                                                                                           most effective manner.




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             The defendant must also comply with the following special conditions (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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